Dear Chairman McCall,
This office is in receipt of your request for an opinion in which you asked the following questions:
1. Is the Purchasing Director, under the supervision of the State Boardof Public Affairs, authorized to accept, evaluate and determine thelowest and best bid on state purchases that fall within the authority ofthe Central Purchasing Act.
 2. In the event an agency and central purchasing are unable toagree as to which bid is the lowest and best, does the PurchasingDirector have the authority to determine the same.
Your request arises from disagreements with agencies over acquisitions which they determine are not functionally equivalent to the product specifications requested.
The Oklahoma Central Purchasing Act, Title 74 O.S. 85.1[74-85.1] et seq. (1971), creates a purchasing division and its administrative head, the State Purchasing Director, for the purposes of supervision and controlling the acquisition by every state agency of all the services, supplies, equipment, or materials used. 74 O.S. 85.3 of the Central Purchasing Act establishes the qualifications required by any prospective Director of State Purchasing to insure his expertise in the area of state purchases. It places at his disposal additional technical and clerical help including a qualified specification engineer and eighteen qualified buyers experienced in all facets of state purchases. 74 O.S. 85.5 of the Central Purchasing Act further establishes the relationship between the State Purchasing Director and the various requesting agencies by the following provision:
  74 O.S. 85.5 Exclusive authority of Director-Rules and Regulations by Board. . .
    Subject to the provisions of 4, the State Purchasing Director under the supervision of the State Board of Public Affairs, shall have sole and exclusive authority and responsibility for the acquisition of all materials, supplies, equipment and services acquired, used or consumed of the State Government. The State Purchasing Director, after consultation with requesting or purchasing agency, shall have authority to determine the particular brand, model, and/or other specific classification of each item or group of materials, supplies, equipment or services to be acquired for such use or consumption, and to draft specifications establishing the requirements for all such purchases under the restrictions hereinafter provided. . .
The plain language of the above quoted section, clearly establishes the legislative intent that in the event an agency and Purchasing Director cannot agree upon the specifications or brand of product requested, the State Purchasing Director shall be exclusively empowered to make the final decision. Included within the exclusive authority granted the state purchasing director is the responsibility that all acquisitions as defined in 74 O.S. 85.2 (3) made in excess of $500.00 shall first require the submission of competitive bids and thereafter be awarded to the "lowest and best bidder therefore," in accordance with 74 O.S. 85.7 (1971).
It is, therefore, the opinion of the office of the Attorney Generalthat your questions be answered as follows:
 1. The State Purchasing Director is statutorily empowered to accept,evaluate and determine the lowest and best bid on state purchases fallingwithin the Central Purchasing Act.
 and
 2. The State Purchasing Director is further empowered to determine thelowest and best bid in the event of disagreements with requestingagencies on the specifications of items requested.
JAN ERIC CARTWRIGHT, ATTORNEY GENERAL OF OKLAHOMA
JOHNNY J. AKINS, ASSISTANT ATTORNEY GENERAL